Case: 1:00-cr-00878 Document #: 25 Filed: 05/16/01 Page 1 of 6 PageID #:16
Case: 1:00-cr-00878 Document #: 25 Filed: 05/16/01 Page 2 of 6 PageID #:17
Case: 1:00-cr-00878 Document #: 25 Filed: 05/16/01 Page 3 of 6 PageID #:18
Case: 1:00-cr-00878 Document #: 25 Filed: 05/16/01 Page 4 of 6 PageID #:19
Case: 1:00-cr-00878 Document #: 25 Filed: 05/16/01 Page 5 of 6 PageID #:20
Case: 1:00-cr-00878 Document #: 25 Filed: 05/16/01 Page 6 of 6 PageID #:21
